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UNITED STATES DISTRICT COURT                           Roberson pled guilty to conspiracy to
SOUTHERN DISTRICT OF GEORGIA                       possess with intent to distribute and to
    STATESBORO DIVISION                            distribute cocaine base. See id. at * 1.
                                                   Roberson had waived his right to appeal the
ELIJAH NAHUM SIMMONS,
                                                   conviction and sentence, as well as the right
Movant,                                            to collaterally attack the sentence in any
                                                   post-conviction proceeding, unless “by
v.                      6:11-cv-83                 variance or upward departure, the sentence
                                                   [was] higher than the advisory sentencing
UNITED STATES OF AMERICA,                          guideline range as found by the sentencing
                                                   court.” Id. This Court departed upwards
Respondent.
                                                   from the sentencing guidelines, and
                   ORDER                           Roberson then asked his attorney to appeal.
                                                   See id. Counsel, however, filed the notice of
    Movant Elijah Nahum Simmons                    appeal late. See id. Roberson filed his §
(“Simmons”) filed this 28 U.S.C. § 2255            2255 motion to attack his attorney’s failure
motion, alleging, among other grounds,             to appeal properly. See id.
ineffective assistance of counsel. See Doc.
1. Simmons claims that his counsel                     The Court granted Roberson the relief he
rendered ineffective assistance by failing to      sought for two reasons. The first was that
file a notice of appeal despite Simmons’s          the language of the collateral attack waiver
request to do so. See id. at 6. The                in the plea agreement did not cover
Government does not dispute that Simmons           Roberson’s § 2255 motion. See id. at *2.
asked for but was denied an appeal.                    The second was that Roberson had a
    If an attorney acts contrary to his client’s   right to file an appeal despite the language
wishes in failing to file a notice of appeal,      of the waiver. See id. at *2; Gomez-Diaz,
“prejudice is to be presumed, and [the client]     433 F.3d at 793. Accordingly, the Court
is entitled to an out-of-time appeal.”             concluded that Roberson should be able to
Gomez-Diaz v. United States, 433 F.3d 788,         challenge his attorney’s failure to exercise
793 (11th Cir. 2005). Even a defendant who         that particular right and only that particular
has signed an appeal waiver and cannot             right ( i.e., the right to file an appeal) despite
articulate arguably meritorious grounds that       language in his waiver forbidding collateral
would fit within exceptions listed in the          challenges. See Roberson, 2011 WL
waiver is entitled to such an appeal. See id.      6032962, at *3.

   As the Magistrate Judge noted,                      Neither reason permits collateral attacks
Simmons’s predicament is analogous to              on any other ground. The Court also notes
another case recently before this Court. See       that Simmons’s ability to file an appeal does
Roberson v. United States, 2011 WL                 not mean that he has gotten around the
6032962 (S.D. Ga. Nov. 30, 2011).                  waiver. See United States v. Magana-
                                                   Herrera, 2012 WL 952297, at *1 (11th Cir.
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Mar. 21, 2012) (applying appeal waiver to              United States v. Phillips, 225 F.3d 1198,
dismiss grounds of appeal not excepted from            1201 (11th Cir. 2000). Accordingly, the
the waiver).                                           Court VACATES Simmons’s Judgment in
                                                       his criminal case. See United States v.
    Because Simmons asked for and did not
receive an appeal from his counsel, both of            Simmons, 6:10-cr-1, Doc. 151 (S.D. Ga. July
                                                       16, 2010). The Court ORDERS the Clerk of
these reasons are applicable here and permit
                                                       the Court to enter a new Judgment imposing
Simmons to file a collateral attack.
                                                       the same terms as originally imposed,
Accordingly, the Court applies this same
                                                       identical in all respects to the original
reasoning to Simmons’s case and
                                                       Judgment, save only for the date of entry.
determines, as concluded by the Magistrate
Judge, that, at this time, Simmons is entitled             The Court specifically advises Simmons
to relief only on his attorney’s failure to file       that the entry of the new judgment creates a
an appeal at his request.                              fourteen-day period within which Simmons
                                                       may prosecute a direct appeal of his criminal
   With this understanding of the Roberson
                                                       conviction. Thus, Simmons has fourteen
decision, the Court VACATES its January
                                                       (14) days from the date of the reimposition
23, 2012 Order adopting the Magistrate
                                                       of his sentence to file a timely appeal. See
Judge’s Report and Recommendation
                                                       F ED. R. A PP. P. 4(b)(1)(A)(i). The Clerk is
(“R&R”) and substitutes this opinion
                                                       DIRECTED to make arrangements for the
ADOPTING the R&R.
                                                       appointment of counsel.
    The Eleventh Circuit has established a
procedure for district courts to follow upon
allowing out-of-time appeals as a 28 U.S.C.            This 23rd day of April 2012.
§ 2255 remedy:
   (1) the criminal judgment from
   which the out-of-time appeal is to be
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                                                        R AVANT EDENFIELO, RIDGE
   permitted should be vacated; (2) the                 UNiTED STATES DISTRICT COURT
   same sentence should then be                         SOUTHERN DISTRICT OF GEORGIA
   reimposed; (3) upon reimposition of
   that sentence, the defendant should
   be advised of all the rights associated
   with an appeal from any criminal
   sentence; and (4) the defendant
   should also be advised that the time
   for filing a notice of appeal from that
   re-imposed sentence is [fourteen]
   days, which is dictated by Rule
   4(b)(1)(A)(i).




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